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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------X
UNITED STATES OF AMERICA,

                                                        MEMORANDUM AND ORDER
                 - against -
                                                           00 Cr. 1008 (NRB)
XAVIER WILLIAMS,

                     Defendant.
-------------------------------X
NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE

       Presently       before     the    Court   are       two     motions       made    by

defendant Xavier Williams, each seeking a reduction of the life

sentence imposed upon him by this Court on October 7, 2005.                             The

first     is    based     upon     Amendment     782     to      the     United     States

Sentencing       Guidelines,       which     retroactively             adjusts     offense

levels    associated       with    certain     drugs     (including        cocaine      and

cocaine       base).     See     U.S.S.G.   Supp.      App.    C   at    64-74     (2014);

U.S.S.G. § 1B1.10(d) (2014).                The second, which Williams filed

pro se, is based upon section 404 of the First Step Act of 2018,

Pub.     L.    No.     115-391,    132   Stat.      5194      (2018),      which     makes

retroactive certain provisions of the Fair Sentencing Act of

2010, Pub. L. 111-220, 124 Stat. 2372 (2010).                            Because relief

under either Amendment 782 or the First Step Act is unwarranted

in this case, we deny both motions in their entirety.
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                                   BACKGROUND

      In July of 2005, a jury convicted Williams of (1) engaging

in a racketeering enterprise; (2) racketeering conspiracy; (3)

conspiracy to commit murder; (4) conspiracy to distribute and

possess with intent to distribute 50 grams or more of crack and

5 kilograms or more of cocaine; (5) use of a firearm in relation

to a drug trafficking crime; and (6) conspiracy to commit money

laundering.

      Prior to sentencing, the Probation Office issued a report

in which it concluded that Williams and his co-conspirators had

purchased over 250 kilograms of cocaine for distribution, and

that Williams himself had “distributed at least 250 kilograms of

crack, which had been processed from the cocaine possessed by

the     Torres      Organization.”    Presentence        Investigation      Report

(“PSR”), dated October 7, 2005, ¶¶ 19, 52.                    Based in part on

these findings, Probation calculated a combined adjusted offense

level    of    43   under   the   then-applicable       sentencing    guidelines,

derived from a base offense level of 38, plus a four-level role

adjustment pursuant to § 3B1.1(a) and an additional one-level

multiple count adjustment pursuant to § 3D1.4.                    Given Williams’

Criminal History Category of III, the resulting guidelines range

was life in prison plus five years.

      At      sentencing,    Williams’       defense    counsel    argued   for   a

downward       variance,    but   agreed      with     the   Probation   Office’s


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calculation of the guidelines range.                     Sentencing Tr. 3:14–19;

20:20–22.      At    no    point    did    Williams      request     an     evidentiary

hearing as to the quantity of drugs involved in the narcotics

offense,    nor     did   he    dispute        the    Court’s     finding    that   “an

abundance of testimony from numerous witnesses” supported the

“conclusion       that    defendant        distributed       in     excess     of   150

kilograms   of     cocaine.        .   .   .      And    obviously    the     testimony

involved Mr. Williams’ role as the cooker of [the] crack.”                          Id.

at 5:23–7:9.      After analyzing the statutory factors set forth at

18 U.S.C. § 3553(a), the Court sentenced Williams to life in

prison plus 5 years.             See Judgment & Conviction (November 4,

2005), ECF No. 198.            The Second Circuit affirmed his conviction

and sentence on direct appeal.                   See United States v. Williams,

Nos. 05-6036, 05-6038, 05-6065, 2007 WL 3105760 (2d Cir. Oct.

23, 2007) (summary order), cert. denied, 552 U.S. 1223 (2008).

    Since     then,       Williams     has       filed   several     post-conviction

motions     for     relief,        many      of      which   have     attacked      our

determination of the quantity of cocaine and crack involved in

his offense conduct.            See Mem. and Order, August 11, 2015, ECF

No. 296 (summarizing Williams’ post-conviction motions).                            The

first of Williams’ two pending motions falls squarely within

this category.       In it, he seeks a sentence modification pursuant

to Amendment 782 of the Sentencing Guidelines and 18 U.S.C. §

3582(c)(2), or, in the alternative, an evidentiary hearing so


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that he can establish that the drug quantities involved in his

offense       trigger      a    retroactive       reduction   of      the     applicable

guidelines range.              Williams filed the motion pro se on August

29, 2018, but counsel subsequently appeared on his behalf, filed

a supplemental memorandum in support, and continued to brief the

motion in response to the Government’s opposition.1                         See ECF Nos.

303, 313, 318, 321, and 324.

      Williams’ second motion, captioned as a “motion to correct

sentence pursuant to 28 U.S.C. § 2255,” was filed pro se on July

12, 2019, and seeks a reduction of Williams’ sentence pursuant

to section 404(b) of the First Step Act, which makes retroactive

a change in the quantity of crack necessary to trigger certain

mandatory minimum and maximum penalties under 21 U.S.C. § 841.

See ECF No. 325.               The Government responded by letter on August

9,   2019,     see   ECF       No.   326,   and   Williams    filed    a     motion   for

appointment of counsel on August 13, 2019, see ECF No. 327.

Williams responded to the Government’s August 9 letter on August

29, 2019.       See ECF No. 331.

      We turn first to Williams’ Amendment 782 motion.

                                       DISCUSSION

     A.     Amendment 782




1     Accordingly, Williams’ August 29, 2018 request for an appointment of
counsel in connection with his Amendment 782 motion is denied as moot. See
ECF No. 302.


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    Under       18        U.S.C.        § 3582(c)(2),            this     Court,        “after

considering     the       factors       set   forth       in    section    3553(a),”       may

reduce a term of imprisonment if it was “based on a sentencing

range    that   has       subsequently        been    lowered        by   the    Sentencing

Commission.”         The       statute     “establishes          a   two-step     inquiry.”

Dillon v. United States, 560 U.S. 817, 826 (2010).                                    “At step

one, § 3582(c)(2) requires the court to follow the Commission’s

instructions in [U.S.S.G.] § 1B1.10 to determine the prisoner’s

eligibility for a sentence modification and the extent of the

reduction authorized,” id. at 827, and § 1B1.10 in turn requires

the court to “determine the amended guidelines range that would

have been applicable to the defendant if the amendment(s) to the

guidelines listed in subsection (d) had been in effect at the

time the defendant was sentenced” holding all else constant,

U.S.S.G. § 1B1.10(b)(1) (2014).                    “At step two of the inquiry,

§ 3582(c)(2)       instructs        a    court       to    consider       any    applicable

§ 3553(a) factors and determine whether, in its discretion, the

reduction    . . .        is    warranted     in     whole      or   in   part   under     the

particular circumstances of the case.”                         Dillon, 560 U.S. at 827.

However, we reach step two “[i]f, and only if, a defendant is

eligible     for      a        reduction      in     sentence        under       18     U.S.C.

§ 3582(c)(2) and U.S.S.G. § 1B1.10.”                      United States v. Mock, 612

F.3d 133, 134 (2d Cir. 2010) (per curiam).




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      Defendant’s motion fails at the first step of the Dillon

inquiry.     Amendment 782 increases the amount of cocaine required

to trigger a base offense level of 38 from 150 kilograms to 450

kilograms, and raises the corresponding threshold for crack from

1.5 kilograms to 25.2 kilograms.                   See U.S.S.G. supp. app. C at

64-74 (2014).        The Court’s finding at sentencing that Williams’

offense involved       at least 150 kilograms of cocaine and that

Williams     cooked    that    cocaine        into    crack       satisfies       the    new

threshold for crack, particularly given that testimony at trial

demonstrated that Williams was adept at “stretching” cocaine to

yield even higher quantities of crack.                  See Trial Tr. 473:2–13;

474:18–475:7; 521:1–12.

      Williams argues that the Court’s finding was insufficiently

specific, citing United States v. Melendez, 679 F. App’x 68, 71

(2d   Cir.   2017)    (summary     order)      (vacating          a    district    court’s

denial of an Amendment 782 motion in the absence of a specific

drug quantity finding).             But in Melendez, the extent of the

district     court’s    finding      was       a     general          remark     that    the

guidelines     appeared   “accurately          computed”;         it     made    no     other

reference to drug quantity, nor did it specifically adopt the

relevant     provisions       of   the     Probation        Office’s           presentence

report.      Here, the Court, mindful of “the chance that [drug

quantity] might show up as [a guidelines calculation issue] on a

later    date,”   Sentencing       Tr.   6:3–6,      made     a       specific    judicial


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determination        as     to   the     amount      of     cocaine       that    Williams

distributed       and      cooked    into    crack     –     findings      that     defense

counsel did not object to at the time and that have been left

undisturbed on appeal or otherwise for nearly fifteen years.

And while the Court did not adopt the relevant provisions of the

PSR at sentencing, we did so in a subsequent Order, citing the

Probation Office’s finding that “[Williams] distributed at least

250   kilograms       of    crack”      in   support       of   our   conclusion       that

Williams    was      ineligible      for     a     sentencing     modification        under

Amendment 706.2           See Order, Nov. 24, 2008, ECF No. 211 (citing

paragraph   12       of    the   PSR).       The    Second      Circuit     affirmed    our

decision on appeal, holding that “the crack cocaine guidelines

applicable to [Williams’] conviction are unaffected by Amendment

706” “[b]ecause the quantity of crack cocaine involved in [his]

offense    far    exceeded       [the    new     threshold      of]   4.5    kilograms.”

United States v. Williams, 08-6115-cr (2d Cir. Dec. 9, 2009)

      Even if the Court were to accept Williams’ argument and

evaluate anew the drug quantities involved in his offense, it

would not change our conclusion regarding his eligibility.                               An

abundance of testimony at trial established that Williams was

engaged    in    a    nearly     decades-long        drug-trafficking            conspiracy

involving drug quantities exceeding the new amended guidelines



2     Amendment 706, like Amendment 782, retroactively changed the quantities
of crack associated with certain base offense levels.


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thresholds of least 25.2 kilograms of crack and 450 kilograms of

cocaine.      Witness Richard Feliciano, for example, testified that

Williams was a proficient cooker of crack, and that he had sold

Williams approximately 400 to 500 kilograms of cocaine for this

purpose in the 1990s.            Trial Tr. 536:16–537:6; 542:13–21; 551:1–

6.     While Williams spends a substantial portion of his motion

assailing      Feliciano’s          credibility,        he   offers        no      reason    to

disbelieve      Victor       Mercado,       who    testified         that       between     the

beginning of 1994 and the fall of 1995, Williams stored 10 to 20

kilograms of cocaine per week in Mercado’s apartments – totaling

somewhere between         900 and 1,800 kilograms                -        and cooked that

cocaine      into   crack     for    wide-scale      distribution.               Id.     158:8–

159:14;      163:4–23;        191:20–24.          Nor    does        he     challenge       the

testimony of witness Jason Protnick, who told the jury that he

brought      nearly    100    kilograms      of    cocaine      to    apartments          where

Williams was cooking crack, id. 332:22–333:14; 334:8–349:25, and

that    he    helped    install       hidden      compartments        in     vehicles       for

Williams and his co-conspirators, which could be used to conceal

and transport up to 100 kilograms of narcotics at a time, id.

350:6–360:11;          477:2–7.             Substantial         evidence            of      the

conspirators’ willingness to commit acts of violence and money

laundering in connection with their narcotics conspiracy provide

further      evidence    of    Williams’       participation          in    a    trafficking

operation      of     enormous       size   and     scale.           And     all     this    is


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consistent with his concessions in a prior appellate submission

that he “was prove[n] to be a prolific drug dealer for a period

of years,” and that “[t]he government’s trial evidence amply

proved [his] lengthy involvement in narcotics trafficking.”                   Br.

for Def.-App. Xavier Williams at 28, June 23, 2006, 05-6036-cr.

     In    short,    whether    we   rely   on    our   prior   drug   quantity

findings or undertake a fresh review of the record evidence, we

have little trouble concluding that the quantities of crack and

cocaine involved in Williams’ offense far exceed the relevant

thresholds     under   Amendment     782.        Accordingly,   we     deny   his

request for an evidentiary hearing and conclude that he is again

ineligible for a sentencing modification under § 3582(c)(2).

   B.     First Step Act

     Williams’ second motion seeks relief under the First Step

Act (the “Act”), which makes retroactive certain provisions of

the Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat.

2372.     As relevant here, section 2 of the Fair Sentencing Act

increased the amount of crack required to trigger the mandatory

minimum penalties set forth in 21 U.S.C. § 841(b)(1)(A) from 50

grams to 280 grams.            While, as enacted, this provision only

applied prospectively to offenders who were sentenced after the

statute took effect, section 404(b) of the First Step Act allows

a court that had previously imposed a sentence for a “covered

offense” to “impose a reduced sentence as if section[ ] 2 . . .


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of the Fair Sentencing Act . . . were in effect at the time the

covered offense was committed.”                Section 404(a) defines “covered

offense” as “a violation of a Federal criminal statute, the

statutory penalties for which were modified by section 2 or 3 of

the   Fair    Sentencing      Act    of   2010,      that    was     committed    before

August 3, 2010.”             The Act further provides that “[n]othing in

[section 404] shall be construed to require a court to reduce

any sentence pursuant to this section.”                    Id. at § 404(c).

      The     Government       concedes     that       Williams        satisfies     the

procedural prerequisites for eligibility set forth in section

404(c) of the Act.           The parties disagree, however, as to whether

Williams’ conviction for conspiracy to distribute at least 50

grams    of   crack    and    five   kilograms        of    cocaine    is    a   “covered

offense”      under   section    404(a),       and,    if    so,     whether     Williams

should receive a discretionary sentence reduction.                          The issue of

whether Williams’ offense is “covered” under the statute boils

down to a question of statutory interpretation.                          According to

the   Government’s      reading      of    section         404(a),    the     “statutory

penalties” clause modifies “violation,” such that an “offense”

is not “covered” by the First Step Act unless section 2 or 3 of

the Fair Sentencing Act changed the penalties associated with

the   quantity    of    drugs    involved       in    the    underlying       violation.

Because, as discussed supra, Williams’ violation involved the

distribution of more than 280 grams of crack, under this reading


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of   the     statute,    he    would    be     ineligible            for   First     Step     Act

relief.

       Most courts addressing the issue have disagreed with the

Government’s interpretation, albeit for different reasons.                                   Some

have concluded that the “penalties” clause is more naturally

read   to    modify     the    term    “statute,”         rather        than     “violation.”

See, e.g., United States v. Rose, 379 F. Supp. 3d 223, 228

(S.D.N.Y. 2019) (finding that various principles of statutory

construction support a conclusion that eligibility is determined

by   whether     “the    penalties          associated      with       their      statute         of

conviction      were    among     those       amended      by     the      Fair    Sentencing

Act”).       Others     have    interpreted         the    phrase          “violation        of    a

Federal      criminal    statute”       to     refer      to     the       charges      in    the

indictment.       See,    e.g.,       United       States       v.    Martinez,         04-CR-48

(JSR), 2019 WL 2433660 (S.D.N.Y. June 11, 2019) (reasoning that

“violation of a Federal criminal statute” refers to the drug

quantity charged in the indictment, and determining First Step

Act eligibility on the basis of that quantity).                             Under either of

these reading, whether an offense is “covered” is determined not

by the amount attributed to the defendant by judicial finding,

but rather by reference to the statute of conviction or the drug

amount charged in the indictment.

       The    Second    Circuit       has    yet   to     weigh       in    on    the   dueling

interpretations of the First Step Act, and we need not resolve


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the issue here because even if Williams were eligible for a

sentence reduction under the First Step Act, it would not be

warranted in this case.          The only change wrought by application

of     the   penalty   provisions       of     the   Fair     Sentencing         Act    in

Williams’ case would be a reduction of the mandatory minimum

penalty      associated   with    his        crack   offense    from       ten     years

imprisonment to five.         But Williams’ crack offense is merely one

part of Count Five of Williams’ conviction, which also included

the charge of conspiring to distribute at least 5 kilograms or

more    powder    cocaine.3      Under   21     U.S.C.    §   841(b)(1)(A),            this

powder       cocaine   offense    independently          triggered     a     ten-year

mandatory minimum penalty that remains unchanged by the passing

of the First Step Act.         Thus, Williams was subject to a ten-year

mandatory minimum on Count Five regardless of whether or not the

penalty provisions of the Fair Sentencing Act were in effect at

the time of his offense.

       Moreover, an analysis of the factors set forth in 18 U.S.C.

3553(a) does not favor a modification of Williams’ sentence.4

Allowing Williams to benefit from the fact he was indicted prior

to the modification of the enactment of the Fair Sentencing Act

- when his offense conduct involved more than enough crack to

3     Our reference to Count Five of Williams’ conviction refers to his
violation of 21 U.S.C. § 846, and corresponds to Count Eight of the Judgment.
See ECF No. 198.

4     The parties here agree that we may consider these factors in evaluating
whether to reduce Williams’ sentence.


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meet the       new mandatory        minimum triggers set forth                      therein -

would create unwarranted sentencing disparities in relation to

defendants who were found guilty of the same underlying conduct

after 2010.           See 18 U.S.C. § 3553(a)(6).                 Moreover, Williams’

post-conviction conduct - a mixed bag of serious infractions and

evidence of rehabilitation, see ECF No. 313 at 14–23; ECF No.

326 at 10–11 –           does not        move this Court to stray from our

conclusion that a sentence of life imprisonment appropriately

reflects the seriousness of the offenses for which Williams was

convicted,        which      include        racketeering              and     engaging     in

conspiracies to commit murder, launder money, and traffic large

quantities of narcotics.                See § 3553(a)(2)(A).                 As we remarked

at    the    time,     “there     are   cases    in   which       a    defendant      by   his

conduct forfeits his right to remain in society.                               This case is

one of those.”         Sentencing Tr. 23:5–7.

       As a final point, the Government has requested that the

Court       specify    the   statutory      provision        under          which   Williams’

First Step motion is brought.               We agree with the Government that

the    motion     is    “most      naturally     interpreted           as     [a]    motion[]

brought under § 3582(c)(1)(B),” Martinez, 2019 WL 2433660, at

*3,     which     permits       modification          of     an       imposed       term   of

imprisonment          only   to     the    extent      “expressly             permitted    by

statute.”       18 U.S.C. § 3582(c)(1)(B).                 We further agree with the

Government (and the overwhelming majority of courts to address


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the issue) that the First Step Act does not “expressly permit[]”

a full or plenary resentencing “carr[ying] with it all of the

procedural    trappings    and    collateral     effects      of    the    original

sentencing.”       Rose, 379 F. Supp. 3d at 232; see Martinez, 2019

WL 2433660, at *3 (“The Court notes that nearly every other

court to address the issue has also held that the First Step Act

does   not   contemplate    plenary   resentencings.”).              Accordingly,

Williams is not entitled to be present for a new sentencing

hearing,     and    the   Court   will     not     consider        his    arguments

pertaining    to    non-retroactive      changes    to   the   law       that   have

occurred after the date of his original sentence.5




5     Williams’ motion for appointment of counsel in connection with his
First Step Act motion is also denied. There is no post-conviction right to
counsel in these circumstances. See, e.g., Pennsylvania v. Finley, 481 U.S.
551, 551 (1987) (“The right to appointed counsel extends to only the first
appeal of right[.]”). Moreover, the arguments in favor of Williams’ request
for a discretionary reduction were already advanced by counsel in connection
with his Amendment 782 motion, and we perceive no need to separately appoint
counsel for additional briefing on the issue.


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                                CONCLUSION

       We conclude that Williams is not entitled to a reduction of

his sentence pursuant to either Amendment 782 or the First Step

Act.     Accordingly, both of his motions for relief are denied in

their entirety and the Clerk of Court is directed to terminate

the motions pending at ECF Nos. 302, 303, 313, 325, and 327.

            SO ORDERED.

Dated:      New York, New York
            October /7, 2019


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                                           NAOMI REICE BUCHWALD
                                           UNITED STATES DISTRICT JUDGE




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Copies of the foregoing Memorandum and Order have been mailed on
this date to the following:

    Defendant
    Xavier Williams, Reg. No. 02149-748
    FCI Bennettsville
    P.O. Box 52020
    Bennettsville, SC 29512




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